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 1   JOSE C. PALLARES, ESQ.
 2
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     720 E. Charleston Blvd. Suite 120
 3   Las Vegas, NV 89104
     702.388.0568
 4
     Attorney For Defendant Quinterro-Zepeda
 5
                                  UNITED STATES DISTRICT COURT
 6
                                             DISTRICT OF NEVADA
 7

 8   UNITED STATES OF AMERICA,                    )
                                                  )
 9                              Plaintiff,        )
                                                  )       2:15-cr-00074-JAD-NJK
10
     VS.                                          )
11                                                )       STIPULATION TO CONTINUE
     VICTOR QUINTERO-ZEPEDA,                      )           SENTENCING DATE
12                                                )             (Second Request)
                                                  )
13
                                Defendant.        )
14
           IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G.
15
     Bogden, United States Attorney, and Susan Cushman, Assistant United States Attorney,
16

17   counsel for Plaintiff the United States Of America and Jose C. Pallares, Esq., counsel for
18   Defendant Victor Quintero-Zepeda, that the sentencing currently scheduled for August 29, 2016,
19
     at the hour of 10:00 a.m. be vacated and set to a date and time convenient to this court, but after
20
     September 9, 2016.
21

22
           This Stipulation is entered into for the following reasons:

23      1. The funeral for Defense counsel’s father is scheduled for August 29, 2016, in Phoenix,
24
     Arizona;
25
        2. Defendant Victor Quintero-Zepeda is in custody and agrees to the continuance;
26
        3. The additional time requested herein is not sought for purposes of delay but
27

28   to allow counsel for the defense the opportunity to properly prepare a defense for Defendant,



                                                      1
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 1   taking into account considerations of due diligence;
 2
        4. Denial of this request could result in a miscarriage of justice;
 3
        5. The additional time requested by this Stipulation is excludable in computing the
 4

 5   time within which the trial herein must commence pursuant to the Speedy Trial Act,

 6   Title 18, United States Code, Section 3161(h)(8)(A), considering the factors under
 7
     Title 18, United States Code, Section 3161(h)(8)(B)(I) and 3161(h)(8)(B)(iv);
 8
         7. This is the second request to continue the sentencing date.
 9
        DATED this 16th day of August, 2016.
10

11
        Defendant VICTOR QUINTERO-ZEPEDA                         DANIEL G. BOGDEN
12                                                               United States Attorney
13
        By: _/S/ Jose C. Pallares                               By: __/S/ Susan Cushman
14          JOSE C. PALLARES, ESQ.                                  SUSAN CUSHMAN, ESQ.
           Counsel For Defendant Quintero-Zepeda                  Assistant United States Attorney
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 1

 2
                                    UNITED STATES DISTRICT COURT
 3
                                           DISTRICT OF NEVADA
 4

 5      UNITED STATES OF AMERICA,                    )
                                                     )
 6                                 Plaintiff,        )       2:15-cr-00074-JAD-NJK
                                                     )
 7
        VS.                                          )       FINDINGS OF FACT,
 8                                                   )       CONCLUSIONS OF LAW,
        VICTOR QUINTERO-ZEPEDA,                      )       AND ORDER
 9                                                   )
                                   Defendants.       )
10

11             Based on the pending Stipulation of counsel, and good cause appearing

12      therefore, the Court finds that:
13
        1. Defense counsel must attend his father’s funeral scheduled for August 29, 2016, in
14
     Phoenix, Arizona;
15
        2. Defendant Victor Quintero-Zepeda is in custody and agrees to the continuance;
16

17      3. The additional time requested herein is not sought for purposes of delay but to allow
18   counsel for the defense the opportunity to properly prepare a defense for Defendant, taking into
19
     account considerations of due diligence;
20
         4. Denial of this request could result in a miscarriage of justice;
21

22
         5. The additional time requested by this Stipulation is excludable in computing the

23   time within which the trial herein must commence pursuant to the Speedy Trial Act,
24
     Title 18, United States Code, Section 3161(h)(8)(A), considering the factors under
25
     Title 18, United States Code, Section 3161(h)(8)(B)(I) and 3161(h)(8)(B)(iv);
26
         6. This is the second request to continue the sentencing date.
27

28            For all of the above-stated reasons, the ends of justice would be best served by



                                                         3
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 1   continuing the sentencing date.
 2
                                          CONCLUSIONS OF LAW
 3
            The ends of justice would be served by granting said continuance outweigh the
 4

 5      best interest of the public and the defendant in a speedy sentencing hearing, since the

 6      failure to grant said continuance would be likely to result in a miscarriage of justice,
 7
        and would deny defense counsel the opportunity to prepare an effective defense for
 8
        his client, taking into account the exercise of due diligence.
 9
            The continuance sought herein is excludable under the Speedy Trial Act, Title 18,
10

11      United States Code, Section 3161(h)(1)(A), 361(h)(7) and Title 18, United States

12      Code, Section 3161(h)(8)(A), when considering the factors under Title 18, United
13
        States Code, Sections 3161 (h)(8)(B) and 3161(h)(8)(B)(iv).
14
                                                    ORDER
15
            IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for
16

17      August 29, 2016, at 10:00 a.m. be vacated and continued to September
                                                                   September___
                                                                             20,at2016
                                                                                   the hour of
18      at 10:00 a.m.
        ___a.m./p.m..
19
        DATED
        DATED this
              this_____ day
                   16 day of of August,2016.
                             August,    2016.
20

21                              _____________________________________
22
                                 UNITED STATES DISTRICT JUDGE

23

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